                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

 SAMUEL ROSS,                                      )
                                                   )
                Plaintiff,                         )
                                                   )
 v.                                                )   Case No. 3:12-cv-1173-TJC-PDB
                                                   )
                                                   )
 CITIFINANCIAL AUTO LTD.,                          )
                                                   )
                Defendant.                         )

                    FINAL JUDGMENT APPROVING SETTLEMENT

       The Court has reviewed and considered (1) the terms and conditions of the proposed

settlement as set forth in the Settlement Agreement and Stipulation (“Stipulation”) (Doc. 42-1),

dated May 30, 2014; (2) the parties’ submissions in support of final approval of the settlement

(Docs. 51, 52, 55, 56, 58); (3) the joint motion to amend the class definition (Doc. 57); (4) the

application of Class Counsel for an award of attorneys’ fees, costs, expenses, and a class

representative incentive award (Doc. 53); (5) any objections to the proposed settlement; and (6)

the record in this litigation. The Court held a Fairness hearing on December 19, 2014, the record

of which is incorporated herein.     Upon due consideration, the Court enters the following

FINDINGS and CONCLUSIONS:

       A.     Capitalized terms used in this Order that are not otherwise defined herein shall have

the meaning assigned to them in the Stipulation.

       B.     The Court has jurisdiction over this Action and over all the parties to this Action,

including all members of the Settlement Class.

       C.     The Settlement Class conditionally certified in the Preliminary Approval Order was

appropriately certified for settlement purposes, but should be amended as set forth in the joint
motion to amend (Doc. 57). See Fed. R. Civ. P. 23(c)(1)(C). Additionally, Class Counsel and the

Class Representative have fairly and adequately represented the Settlement Class for purposes of

entering into and implementing the settlement.

       D.      The notice to putative Settlement Class Members was comprised of individual

mailed notice to all Settlement Class Members. The Court finds that this notice (i) constituted the

best notice practicable under the circumstances, (ii) constituted notice that was reasonably

calculated, under the circumstances, to apprise the putative Settlement Class Members of the

pendency of the Action and of their right to object and to appear at the Fairness Hearing or to

exclude themselves from the Settlement, (iii) was reasonable and constituted due, adequate, and

sufficient notice to all persons entitled to be provided with notice, and (iv) fully complied with due

process principles and Federal Rule of Civil Procedure 23.

       E.      The Court has reviewed a memorandum and declaration submitted by counsel for

CitiFinancial Auto Ltd. ("CitiFinancial") in support of compliance with the Class Action Fairness

Act, 28 U.S.C. § 1715(b) (Doc. 58). The Court finds that notice of the settlement (the "CAFA

notice") was provided to State and federal authorities in substantial compliance with 28 U.S.C. §

1715(b) and that the CAFA notice complied with the terms of 28 U.S.C. § 1715(b). Specifically,

the Court finds that (i) the CAFA notice was sent to the appropriate State and federal authorities,

(ii) the CAFA notice contained all of the information required to be included in the notice by the

Class Action Fairness Act, (iii) the CAFA notice provided State and federal authorities sufficient

time to file objections or inquire about the settlement, and (iv) no federal or State authorities

submitted any inquiry, objection, or other response to the CAFA notice to the Court or counsel for

the parties. Accordingly, the parties have substantially complied with their obligations under 28

U.S.C. § 1715(b) and no Settlement Class Member may avoid the settlement on the basis of alleged




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noncompliance with 28 U.S.C. § 1715(b). See Adoma v. University of Phoenix, Inc., 913 F. Supp.

2d 964, 973 (E.D. Cal. 2012); Ault v. Walt Disney World Co., Case No. 6:07-cv-1785-GAP-KRS,

slip op. at 2-3 (M.D. Fla. Apr. 27, 2009).

         F.    The Court has held a Fairness Hearing to consider the fairness, reasonableness, and

adequacy of the settlement; has been advised that there are no objections to the settlement; and has

given fair consideration to the filings in support of final approval.

         G.    The settlement is the product of good faith, arm’s length negotiations between the

Class Representative and Class Counsel, on the one hand, and CitiFinancial and its counsel, on the

other hand.

         H.    The settlement, as provided for in the Stipulation, is fair, reasonable, adequate, and

proper, and in the best interest of the Settlement Class. In reaching this conclusion, the Court

considered a number of factors, including: (i) an assessment of the likelihood that the Settlement

Class would prevail at trial; (ii) the range of possible recoveries available to the Settlement Class

Members, including CitiFinancial’s potential counterclaims; (iii) the consideration provided

pursuant to the settlement, as compared to the range of possible recovery discounted for the

inherent risk of litigation, including the risk of maintaining a class through trial; (iv) the

complexity, duration, and expense of such litigation in the absence of a settlement; (v) the nature

and extent of any objections to the settlement; and (vi) the stage of the proceedings at which the

settlement was reached. See, e.g., Faught v. American Home Shield, 668 F.3d 1233 (11th Cir.

2011).

         I.    There have been no objections to the settlement and no Settlement Class Members

have requested exclusion from the settlement.




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       J.      Upon entry of this Order, all Settlement Class Members (as permanently certified

below) shall be subject to and bound by all of the provisions of the settlement, the Stipulation, and

this Order.

       On the basis of the foregoing findings and conclusions, as well as the submissions and

proceedings referred to above, NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED,

AND DECREED:

                        Certification of Class and Approval of Settlement

       1.      The settlement and the Stipulation are hereby approved as fair, reasonable,

adequate, and in the best interests of the Settlement Class, and the requirements of due process and

Federal Rule of Civil Procedure 23 have been satisfied. The parties are ordered and directed to

comply with the terms and provisions of the Stipulation.

       2.      The Court having found that each of the elements of Federal Rules of Civil

Procedure 23(a) and 23(b)(3) are satisfied, for purposes of settlement only, the Settlement Class is

certified pursuant to Federal Rule of Civil Procedure 23, and includes the following persons:

       All persons who, from September 12, 2008 to April 8, 2014: (a) have or had a Retail
       Installment Sales Contract ("RISC") held by CitiFinancial Auto Ltd.
       ("CitiFinancial") secured by a motor vehicle purchased in Florida; (b) had their RISC
       serviced by Santander Consumer USA, Inc. ("Santander"); (c) had their motor
       vehicle repossessed in Florida by CitiFinancial, Santander or their agents; (d) were
       sent a post-repossession notice from Santander while it was servicing a RISC owned
       by CitiFinancial which failed to describe CitiFinancial as the secured party; (e) still
       have their loan owned or serviced by CitiFinancial or Santander; (f) against whom
       CitiFinancial or Santander has not obtained a deficiency judgment; (g) have not
       obtained a discharge in bankruptcy applicable to any such RISC; (h) have not filed
       for bankruptcy following the repossession of the motor vehicle securing the RISC;
       (i) do not have a co-borrower on the RISC that has obtained a discharge in
       bankruptcy applicable to any such RISC or that has filed for bankruptcy following
       the repossession of the motor vehicle securing the RISC; (j) were not on active duty
       in the U.S. Military to trigger the protections of the Servicemembers Civil Relief Act
       at the time the repossession of the motor vehicle securing the RISC took place or at
       the time the post-repossession notice was sent; and (k) have not had their RISC
       reinstated after the repossession of the motor vehicle securing the RISC took place.



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The Court readopts and incorporates herein by reference its preliminary conclusions as to the

satisfaction of Rules 23(a) and (b)(3) set forth in the Preliminary Approval Order, (Doc. 50), and

notes again that because this certification of the Class is in connection with the settlement rather

than litigation, the Court need not address any issues of manageability that may be presented by

certification of the statewide class proposed in the settlement. Moreover, the joint motion to

amend the class definition (Doc. 57) is granted. Thus, to the extent the class definition in the

Court's Preliminary Approval Order differs from the definition stated above, the definition stated

above controls.

       3.      For purposes of settlement only, Plaintiff is certified as representative of the

Settlement Class and Class Counsel is appointed counsel to the Settlement Class. The Court

concludes that Class Counsel and the Class Representative have fairly and adequately represented

the Settlement Class with respect to the settlement and the Stipulation.

       4.      Notwithstanding the certification of the foregoing Settlement Class and

appointment of the Class Representative for purposes of effecting the settlement, if this Order is

reversed on appeal or the Stipulation is terminated or is not consummated for any reason, the

foregoing certification of the Settlement Class and appointment of the Class Representative shall

be void and of no further effect, and the parties to the proposed settlement shall be returned to the

status each occupied before entry of this Order without prejudice to any legal argument that any

of the parties to the Stipulation might have asserted but for the Stipulation.

                                     Releases and Injunctions

       5.      Plaintiff and Settlement Class Members shall and hereby do release, remise, and

forever discharge CitiFinancial and Santander, as broadly defined in the Stipulation under

"Released Parties," from all actual and potential claims, actions, rights of recovery, and causes of



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action of any kind, whether for damages or restitution, of any kind and in any amount, including

but not limited to punitive damages, special damages, speculative damages, statutory damages,

mental anguish, emotional distress, exemplary damages, consequential damages, costs, attorneys’

fees, penalties, fines, injunctive or other equitable relief, or any other relief, remedy, or right of

action of any kind or nature, relating in any way to the RISCs, whether known or unknown,

suspected or unsuspected, asserted or unasserted, foreseen or unforeseen, actual or contingent,

liquidated or unliquidated, that: (1) arise out of or are related in any way to any or all of the acts,

omissions, facts, matters, transactions, and occurrences that were directly alleged, asserted,

described, set forth, or referred to in the Action; or (2) are, were, or could have arisen out of or

been related in any way to the financing, repossession, post-repossession sale, collections, or

deficiencies regarding any loans or RISCs. The claims discussed in this paragraph are hereafter

referred to as "Released Claims."

       6.      The Settlement Class Members are permanently enjoined from filing, commencing,

prosecuting, intervening in, participating in as class members or otherwise, or receiving any

benefits or other relief from, any other lawsuit in any state, territorial or federal court, or any

arbitration or administrative or regulatory or other proceeding in any jurisdiction, which asserts

claims based on or in any way related to the Released Claims against CitiFinancial or Santander,

as broadly defined in the Stipulation under "Released Parties." In addition, Settlement Class

Members are enjoined from asserting as a defense, including as a set-off or for any other purpose,

any argument against CitiFinancial or Santander, as broadly defined in the Stipulation under

"Released Parties," that if raised as an independent claim would be a Released Claim.




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                    Applications for Attorneys’ Fees, Costs, and Expenses and
                            Representative Plaintiff Incentive Award

       7.      The Court has reviewed the application for an award of fees, costs, and expenses

submitted by Class Counsel and the exhibits, memoranda of law, and other materials submitted in

support of that application. (Docs. 53, 56.) The Court recognizes that CitiFinancial has not

opposed the application for the class representative incentive award of $5,000 to be paid by

CitiFinancial or an award of attorneys’ fees and costs of $217,500 to be paid by CitiFinancial. This

agreement is in addition to the other relief to be provided to Class Members under the Agreement.

On the basis of its review of the foregoing, the Court finds that Class Counsel’s request for

attorneys’ fees and expenses is fair, reasonable, and appropriate and hereby awards fees and

expenses to Class Counsel in the aggregate amount of $ 217,500 and an incentive award to Plaintiff

in the amount of $5,000, to be paid by CitiFinancial in accordance with the terms of the Stipulation.

                                         Other Provisions

       8.      Neither the Stipulation nor any provision therein, nor any negotiations, statements

or proceedings in connection therewith shall be construed as, or be deemed to be evidence of, an

admission or concession on the part of the Plaintiff, any Settlement Class Member, CitiFinancial,

Santander, or any other person of any liability or wrongdoing by them, or that the claims and

defenses that have been, or could have been, asserted in the Action are or are not meritorious, and

this Order, the Stipulation or any such communications shall not be offered or received in evidence

in any action or proceeding, or be used in any way as an admission or concession or evidence of

any liability or wrongdoing of any nature or that Plaintiff, any Settlement Class Member, or any

other person has suffered any damage; provided, however, that the Stipulation and this Order may

be filed in any action by CitiFinancial, Santander, or Settlement Class Members seeking to enforce

the Stipulation or the Final Judgment by injunctive or other relief, or to assert defenses including,



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but not limited to, res judicata, collateral estoppel, release, good faith settlement, or any theory of

claim preclusion or issue preclusion or similar defense or counterclaim. The Stipulation’s terms

shall be forever binding on, and shall have res judicata and preclusive effect in, all pending and

future lawsuits or other proceedings as to Released Claims and other prohibitions set forth in this

Order that are maintained by, or on behalf of, the Settlement Class Members or any other person

subject to the provisions of this Order.

       9.      In the event the Stipulation does not become effective or is canceled or terminated

in accordance with the terms and provisions of the Stipulation, then this Order and Final Judgment

shall be rendered null and void and be vacated and all orders entered in connection therewith by

this Court shall be rendered null and void.

                            Entry of Judgment; Continuing Jurisdiction

       10.     All Released Claims are dismissed with prejudice.

       11.     Without in any way affecting the finality of this Final Judgment, this Court hereby

retains jurisdiction as to all matters relating to (a) the interpretation, administration, and

consummation of the Stipulation and (b) the enforcement of the injunctions described in paragraph

6 of this Order.

       SO ORDERED this 22nd day of December, 2014.




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